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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


CLARENCE LAMBERT,                            No. 6:14-CR-06181 (MAT)
                                             No. 6:16-CV-06741 (MAT)
                                  Movant,
            -vs-                             DECISION AND ORDER
UNITED STATES OF AMERICA,

                             Respondent.



I.     Introduction

       Proceeding pro se, movant Clarence Lambert (“Lambert”), a

federal prisoner, moves this Court to vacate and correct his

sentence pursuant to 28 U.S.C. § 2255. On September 9, 2015,

Lambert pled guilty to the following two counts of a superceding

indictment: (1) Hobbs Act conspiracy in violation of 18 U.S.C.

§ 1951(a); and (2) brandishing a firearm during and in relation to

a crime of violence in violation of 18 U.S.C. § 924(c)(1)(A)(ii).

See docs. 65, 66. On January 15, 2016, Lambert was sentenced to an

aggregate 300-month term of imprisonment with five years of post-

release supervision.

II.    Discussion

       Lambert brings the instant § 2255 motion pursuant to the

authority of Johnson v. United States, __ U.S. __, 135 S. Ct. 2551

(2015), in which the Supreme Court held that the residual clause of

the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e), was

unconstitutionally void for vagueness. Lambert argues that his
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conviction of Hobbs Act Conspiracy is no longer a crime of violence

in the wake of Johnson.

       At the time of Lambert’s sentencing, the ACCA defined a “crime

of   violence”     as   an    offense   punishable    by    more   than   a   year

imprisonment which “(A) has as an element the use, attempted use,

or threatened use of physical force against the person of another,

or (B) that by its nature, involves a substantial risk that

physical force against the person or property of another may be

used    in   the   course     of   committing   the    offense.”     18    U.S.C.

§ 924(c)(3). The emphasized clause is the residual clause, which

was rendered unconstitutional by Johnson. See 135 S. Ct. at 2563.

Therefore, if Lambert was sentenced under the residual clause, his

sentence would be rendered unconstitutional by Johnson. If he was

sentenced under subsection (A) (the “force clause” or “elements

clause”), Johnson would not invalidate his sentence.

       As respondent points out, this Court (Wolford, J.) held, in a

case involving Lambert’s codefendants, that the crime of Hobbs Act

Violence falls under the “force clause” of the ACCA and therefore

the crime remains a “crime of violence” and is unaffected by

Johnson. See United States v. McCoy, No. 6:14-CR-06181 (EAW),

doc. 197, at 5-13 (W.D.N.Y. Jan. 25, 2017); see also Traxler v.

United States, 2016 WL 4536329, *2 (W.D. Mich. Aug. 31, 2016)

(“Johnson does not afford relief to prisoners who received an

enhanced sentence as armed career criminals based on either the

force    clause    or   the    enumerated-offenses         clause[.]”)    (citing


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Johnson, 135 S. Ct. at 2563 (“Today’s decision does not call into

question application of the Act to the four enumerated offenses, or

the remainder of the Act’s definition of a violent felony.”).

     For the same reasons as laid out in Judge Wolford’s recent

opinion, the Court finds that Hobbs Act Conspiracy is a crime of

violence predicated on the force clause of the ACCA, and therefore

Johnson is inapplicable to Lambert’s case. Accordingly, because

Lambert’s sentence does not implicate the residual clause of the

ACCA, his motion to vacate his sentence pursuant to Johnson is

denied with prejudice.

III. Conclusion

     For the foregoing reasons, Lambert’s motion to vacate and

correct his sentence pursuant to 28 U.S.C. § 2255 is denied with

prejudice. The Clerk of the Court is directed to close Case

No. 6:16-CV-06741.

     ALL OF THE ABOVE IS SO ORDERED.



                                        S/Michael A. Telesca

                                          HON. MICHAEL A. TELESCA
                                       United States District Judge

Dated:    February 10, 2017
          Rochester, New York.




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